TO:    All Court of Appeals Judges, Professor Bacigal, Professor Swisher and John Tucker

FROM: Marty Ring

DATE: March 11, 2014


             The following case in which the Court of Appeals issued a published opinion has been
      appealed to the Supreme Court:

          1. Yelp, Inc.
              v. Hadeed Carpet Cleaning, Inc.
              Record No. 0116-13-4
              Opinion rendered by Judge William G. Petty on
              January 7, 2014
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Richard Turner Moter
   v. Commonwealth of Virginia
   Record No. 1301-11-2
   Opinion rendered by Judge Kelsey
     on February 19, 2013
   Refused (130497)

2. Latoya Mrytrise Robertson
   v. Commonwealth of Virginia
   Record No. 0477-11-3
   En Banc opinion rendered by Judge Humphreys
    on March 19, 2013
   Refused (130666)

3. Timothy Woodard
   v. Commonwealth of Virginia
   Record No. 2048-11-3
   Opinion rendered by Judge Petty
     on March 26, 2013
   Judgment of Court of Appeals affirmed by opinion rendered on
     February 27, 2014 (130854)

4. Felecia Amos
   v. Commonwealth of Virginia
   Record No. 1667-11-4
   En Banc opinion rendered by Judge McCullough
     on April 9, 2013
    Judgment of Court of Appeals affirmed by opinion rendered on
     February 27, 2014 (130757)

5. Lashon Marcay Pritchett
   v. Commonwealth of Virginia
   Record No. 0830-12-3
   Opinion rendered by Judge McCullough
    on April 16, 2013
   Refused (130796)
         On February 27, 2014 the Supreme Court issued opinions in the following cases,
   which had been appealed from this Court:

1. Vincent A. Rowe
   v. Commonwealth of Virginia
   Record No. 1700-11-1
   CAV petition for appeal denied by Judge Beales on March 26, 2012
    (delayed appeal awarded by Supreme Court of Virginia)
   Judgment of Court of Appeals affirmed
   (130881)

2. Robert C. David
   v. Cheri Gina David
   Record No. 0653-12-2
   Memorandum opinion rendered by Judge Elder on November 20, 2012
   Judgment of Court of Appeals reversed and matter remanded to this Court for
    reconsideration
   (122145)

3. Derrick Ganson Maxwell, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 0047-12-4
   Memorandum opinion rendered by Chief Judge Felton on April 16, 2013
   Judgment of Court of Appeals reversed and matter remanded to this Court for
    reconsideration of assignment of error this Court found was defaulted
   (130810)
